               Case 2:19-cr-00182-JAM  Document
                                UNITED STATES    38 Filed
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                                                       COURT
                                    EASTERN DISTRICT OF CALIFORNIA

                                          United States Probation Office


                                 INTEROFFICE MEMORANDUM

TO:            Gabriel Siller-Michel, Courtroom Deputy Clerk
               of the Honorable John A. Mendez                                                                 FILED
FROM:          Anthony A. Andrews                                                                             Jan 07, 2021
               Supervisory United States Probation Officer                                            CLERK, U.S. DISTRICT COURT
                                                                                                    EASTERN DISTRICT OF CALIFORNIA
DATE:          January 7, 2021

SUBJECT:       Ronald James Roach
               Docket Number: 0972 2:19CR00182-001
               CONTINUANCE OF JUDGMENT AND SENTENCING

 The above matter is scheduled for judgment and sentencing on March 16, 2021. All parties have agreed to a
 continuance of judgment and sentencing based on:

  ☐     The complexity of this case.
  ☒     Other – Extraordinary circumstances delaying report preparation


 The following proposed sentencing schedule is offered:

      Judgment and Sentencing Date:                                                          April 27, 2021
                                                                                                                                     9:30 AM
      Reply, or Statement of Non-Opposition:                                                 April 20, 2021
      Formal Objections to the Presentence Report shall be filed with the Court
      and served on the Probation Officer and opposing counsel no later than:                April 13, 2021

      The Presentence Report shall be filed with the Court and disclosed to
      counsel no later than:                                                                 April 06, 2021

      Counsel's written objections to the Presentence Report shall be delivered
      to the Probation Officer and opposing counsel no later than:                           March 30, 2021

      The proposed Presentence Report shall be disclosed to counsel no later
      than:                                                                                  March 16, 2021




                                      Anthony A. Andrews
                           Supervising United States Probation Officer

cc:     Andre M. Espinosa and Kevin C. Khasigian, Assistant United States Attorneys
        Christian E. Picone, Defense Counsel



                                                                                                                                  Rev. 11/2020
                                                                           CAE___CONTINUANCE OF JUDGMENT AND SENTENCING__TO COURT CLERK.DOTM
